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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


                                   )
IN RE PHARMACEUTICAL INDUSTRY
AVERAGE WHOLESALE PRICE LITIGATION )                    MDL No. 1456
                                   )
                                   )                    Civil Action No. 01-CV-12257 PBS
                                   )
THIS DOCUMENT RELATES TO           )                    Judge Patti B. Saris
01-CV-12257-PBS AND 01-CV-339      )                    Chief Magistrate Judge Marianne B. Bowler


       AGREED MOTION FOR A PROPOSED AGREED ORDER CONCERNING
          PLAINTIFFS’ MOTION TO UNSEAL ALL CONFIDENTIAL OR
            HIGHLY CONFIDENTIAL DESIGNATED DOCUMENTS
          USED IN SUMMARY JUDGMENT PROCEEDINGS AS TO BMS

               Plaintiffs and defendants Bristol-Myers Squibb Company, Oncology

Thereapeutics Network Corp. and Apothecon Inc. (together, “BMS”) jointly submit this agreed

motion for a proposed Agreed Order on plaintiffs’ Motion to Unseal All Confidential or Highly

Confidential Designated Documents Used in Summary Judgment Proceedings. In support, the

movants state as follows:

               1.     In connection with the cross-motions for summary judgment now pending

before the Court, plaintiffs and moved for leave to file under seal several documents, including

memoranda of law, declarations, exhibits and other materials.

               2.     On May 19, 2006, plaintiffs moved to unseal all documents filed in

connection with the summary judgment motions.

               3.     In a “Procedural Order” dated May 25, 2006, the Court denied the initial

motions to seal as to the summary judgment memoranda of law (except as to private medical

information of the named plaintiffs), but provisionally allowed the motions to seal the exhibits,

declarations and statements of facts submitted therewith.
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               4.      After receipt of the Court’s Procedural Order, counsel for plaintiffs and

BMS conferred and reached agreement as to which exhibits, declarations, fact statements and

other summary judgment materials relating to BMS should remain under seal. Specifically, the

parties agreed that:

                (i)    The following exhibits filed in connection with the parties’ summary

judgment motions would remain under seal in their entirety: Plaintiffs’ BMS Exs. 36, 40, 59 and

68 annexed to the Declaration of Steve W. Berman in Support of Plaintiffs’ Motion for Partial

Summary Judgment Against All Track 1 Defendants, dated March 15, 2006 (the “Berman

Declaration”) and Exhibit E of the Merits Report And Declaration of Gregory K. Bell, Ph. D.,

dated March 15, 2006;

               (ii)    The following exhibits would be unsealed except that individual customer

names would be redacted from the publicly-filed version of the documents: Plaintiffs’ BMS Exs.

42-48 and 53-55 annexed to the Berman Declaration and

               (iii)   Counsel for plaintiffs and BMS would file with the clerk’s office copies of

the summary judgment materials that reflect the above rulings. All other summary judgment

materials relating to BMS would be unsealed.

               5.      Annexed hereto as Exhibit A is a proposed Agreed Order which

implements the parties’ agreement.    Plaintiffs and BMS respectfully request that the Court enter

the proposed Agreed Order.
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Dated: Boston, Massachusetts
       June 20, 2006

                                                  Respectfully submitted,

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                                                  Squibb Company, Oncology
                                                  Therapeutics Network, Corp. and
                                                  Apothecon, Inc.



                                CERTIFICATE OF SERVICE

I, Lyndon M. Tretter, certify that a true and correct copy of the foregoing document was served
on all counsel of record by e-mail and electronic service pursuant to Paragraph 11 of the Case
Management Order No. 2 on June 20, 2006, by sending a copy to Lexis/Nexis for posting and
notification to all parties.

                                                    _____/s/ Lyndon M. Tretter ________
                                                             Lyndon M. Tretter
